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10
                               UNITED STATES DISTRICT COURT
11
                           CENTRAL DISTRICT OF CALIFORNIA
12
                               EASTERN DIVISION – RIVERSIDE
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14
   AOP VENTURES, INC., a Delaware             CASE NO. 5:15-CV-01586 VAP (KKx)
15 corporation,
16                                            DISCOVERY MATTER
                           Plaintiff,         Referred to Magistrate Judge
17                v.                          Kenly Kiya Kato
18
   STEAM DISTRIBUTION, LLC, a                 [PROPOSED]
19 California limited liability company;
   ONE HIT WONDER, INC., a California         STIPULATED PROTECTIVE ORDER
20 corporation; ANTHONY TELLEZ III, an
   individual; and DOES 1-10,
21                                            [Notice of Lodging filed concurrently
                                              herewith]
22                        Defendants.
23 ONE HIT WONDER, INC., a California           NOTE CHANGES MADE BY THE COURT
   corporation,
24                 Counterclaimant,
25              v.

26 AOP VENTURES, INC., a Delaware
   corporation,
27
28                        Counterdefendant.
                                                                 CASE NO. CV 15-01586 VAP (KKx)
                                                     [PROPOSED] STIPULATED PROTECTIVE ORDER
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 1         Counsel for plaintiff, AOP Ventures, Inc. (“Plaintiff”), and defendants Steam
 2   Distribution, LLC, One Hit Wonder, Inc., and Anthony Tellez III (collectively
 3   “Defendants”) [Plaintiff and Defendants are hereinafter collectively referred to as the
 4   “Parties”] hereby submit this Stipulated Protective Order (the “Order”) and request
 5   entry of this Order under Rule 26 of the Federal Rules of Civil Procedure (“Federal
 6   Rules”) to protect confidential information during discovery and trial.
 7         GOOD CAUSE STATEMENT
 8         WHEREAS, the Parties each agree that discovery in this action may involve the
 9   disclosure of certain confidential, trade secret, sensitive and/or proprietary business
10   information about the Parties, their respective customers and/or their respective
11   businesses; and
12         WHEREAS, the Parties are competitors with each other and do not wish to
13   disclose to each other and/or to each other’s legal counsel such confidential, trade
14   secret, sensitive and/or proprietary business information without a protective order;
15   and
16         WHEREAS, the unprotected disclosure of such confidential, trade secret,
17   sensitive and/or proprietary business information could cause serious injury and
18   damages to the Parties;
19         NOW, THEREFORE, the Parties hereby stipulate through their respective
20   counsel of record as set forth below that the disclosure of confidential, trade secret,
21   sensitive and/or proprietary business information in this matter, including without
22   limitation, through discovery, shall be governed by the following Order:
23   \\\
24   \\\
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 1                                      INTRODUCTION
 2         The Parties agree that they will discuss at the Meeting of Counsel Before Final
 3   Pretrial Conference pursuant to Local Rule 16-2 the issue of the use of documents at
 4   trial that have been designated as confidential information pursuant to this Order, and
 5   will also address this issue with this Court at the Final Pretrial Conference.
 6         1.     Applicability. The confidentiality provisions of this Order shall apply to
 7   all proceedings in this action, including, but not limited to, discovery, motions, trial,
 8   appeals, arbitrations, mediations, settlement proceedings, and proceedings upon
 9   remand, as well as to all documents and materials containing “Confidential” or
10   “Confidential Attorneys’ Eyes Only” information disclosed in this action that are
11   designated by a Party or third party as such pursuant to this Order, including without
12   limitation, to all deposition questioning and responses, written discovery and
13   responses, productions of documents, answers to interrogatories, responses to requests
14   for admissions, and all other discovery taken pursuant to the Federal Rules and
15   responses thereto, and by way of any motion, pleading, brief, order of the Court, or
16   subpoena, as well as to testimony adduced at trial, matters in evidence, and any other
17   information that a disclosing party may designate as “Confidential” or “Confidential –
18   Attorneys’ Eyes Only” in connection with this action.
19         2.     Third parties. The terms “disclosing party” and “producing party”
20   encompass not only the Parties to this action but also to third parties who may disclose
21   or produce information, e.g., in response to a subpoena.
22         3.     Scope. The protections conferred by this Stipulation and Order cover not
23   only Covered Material (as defined herein), but also (1) any information copied or
24   extracted from Covered Information; (2) all copies, excerpts, summaries, or
25   compilations of Covered Information; and (3) any testimony, conversations, or
26   presentations by Parties or their Counsel that might reveal Covered Material. Any use
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 1   of Covered Information at trial shall be governed by the orders of the trial judge. This
 2   Order does not govern the use of Covered Information at trial.
 3         4.     Duration. Even after final disposition of this litigation, the
 4   confidentiality obligations imposed by this Order shall remain in effect until a
 5   Designating Party agrees otherwise in writing or a court order otherwise directs. Final
 6   disposition shall be deemed to be the later of (1) dismissal of all claims and defenses
 7   in this Action, with or without prejudice; and (2) final judgment herein after the
 8   completion and exhaustion of all appeals, rehearings, remands, trials, or reviews of
 9   this Action, including the time limits for filing any motions or applications for
10   extension of time pursuant to applicable law.
11                                       DEFINITIONS
12         5.     Covered Information. As used herein, the phrase “Covered Information”
13   means and includes both “Confidential” and “Confidential – Attorneys’ Eyes Only”
14   designated information in written, oral, electronic, graphic/pictorial, audiovisual, or
15   other form, whether it be a document, tangible material, information contained in a
16   document, information revealed during a deposition, information revealed in a
17   discovery response, or otherwise.
18         6.     Confidential. As used herein, the designation “Confidential” means and
19   applies to each of the following: (a) trade secrets, business plans, operations, original
20   product research, technical or developmental information, know how or apparatus,
21   product designs, drawings, specifications and schematics, product development,
22   manufacturing, production, modification, transformation and assembly information,
23   any customer lists or identifying information, vendor, customer and distributor lists
24   and information, sales records, invoices and summaries, payment information, cost
25   information, billing and credit card information, price lists or pricing information,
26   customer preference information, customer histories, purchase orders, shipping
27   records, checks and bank records, financial information, corporate minutes and
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 1   resolutions, and the like, which are not generally known and which the producing
 2   party has not made public; (b) any document, information or thing which contains
 3   trade secrets of the disclosing party or producing party, as set forth in California Civil
 4   Code section 3426.1, which is incorporated herein by this reference; (c) any data
 5   derived from such document, information or thing, including any summaries,
 6   compilations, quotes, or paraphrases thereof; and/or (d) any other sensitive
 7   commercial or personal information having a similar degree of confidentiality and
 8   value to the disclosing party and/or producing party comparable to that of the
 9   foregoing (excluding information covered by the attorney-client privilege or attorney
10   work product doctrine).
11         7.     Confidential – Attorneys’ Eyes Only. Covered Information designated
12   Confidential – Attorneys’ Eyes Only is meant for Covered Information that is more
13   sensitive than that designated Confidential. The Confidential – Attorneys’ Eyes Only
14   designation shall generally mean and apply to the following without limitation, which
15   shall be decided by the disclosing party: (a) Covered Information that includes trade
16   secrets, business plans, product research and development, certain technical or
17   developmental information, customer lists, and other non-public, extremely sensitive
18   or proprietary or other highly confidential business, financial or strategic information
19   that the disclosing party in good faith reasonably believes would create a substantial
20   risk of competitive or business injury to the disclosing party if disclosed to a
21   competitor or a person who the disclosing party reasonably believes to have interests
22   that are aligned with a competitor (including employees of a competitor); and (b) any
23   data derived from such Covered Information, including any summaries, compilations,
24   quotes, or paraphrases thereof.
25         8.     Exceptions to confidentiality status. Information will not be deemed
26   Covered Information, and the Parties shall use reasonable efforts to ensure that
27   information is not designated as such, if the content or substance thereof:
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 1         (a)    is at the time of production or disclosure, or subsequently becomes --
 2                through no wrongful act or failure to act on the part of the receiving party
 3                or any person or entity under its, his or her direction or control or with
 4                whom the receiving party is affiliated -- easily available to the public
 5                through publication or otherwise; or
 6         (b)    is already, through no wrongful act or failure to act, in the possession of
 7                the receiving party at the time of production.
 8         9.      “Other Law Firm Attorneys” means attorneys (i.e., members in good
 9   standing of the bar of the highest court of any state or of any federal district court)
10   who are members or employees of the law firms of the outside attorneys of record for
11   any Party, but who are not themselves of record, and who have signed a document in
12   substantially the form of Exhibit A attached hereto.
13         10.    “Law Firm Personnel” means (i) regular full- or part-time employees of
14   the law firms of the outside attorneys of record for any Party; and (ii) non-employee
15   clerical personnel engaged by such law firms on a contract basis (e.g., data clerks)
16   who have signed a document in substantially the form of Exhibit A attached hereto;
17   to whom it is necessary that the confidential information in question be disclosed for
18   purposes of any dispute between Parties to this lawsuit.
19         11.    “Outside Consultants/Experts” means persons who are not employed by
20   the receiving party and who are retained by a Party or its attorneys of record in this
21   litigation for the purpose of assisting in preparation of this litigation for trial, such as
22   accountants, statisticians, economists, technical consultants or other technical experts,
23   who have signed a document in substantially the form of Exhibit A attached hereto.
24         12.    “Service Bureau” means a company that:
25         (a)    is independent of the Parties, but a company will not be deemed non-
26                independent solely because it does business, regularly or sporadically,
27                with a Party;
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 1         (b)    is engaged by counsel of record to perform clerical-type services in
 2                connection with this litigation, e.g., photocopying, imaging, computer
 3                data entry, and the like, or jury consultation services; and
 4         (c)    has executed an undertaking to be bound by the provisions of this Order
 5                in substantially the form of Exhibit A attached hereto, including the
 6                specific undertaking to have its employees who have access to Covered
 7                Information sign a document in substantially the form of Exhibit A
 8                attached hereto agreeing not to use or disclose such information.
 9         13.    “Other Qualified Person” means any other person (a) who is so
10   designated (i) by order of the court after notice and an opportunity to be heard to all
11   affected Parties, or (ii) by agreement of the producing party, and (b) who has signed a
12   document in substantially the form of Exhibit A attached hereto.
13         14.     “Qualified Persons” as to Covered Information designated Confidential
14   means persons who have signed a document in substantially the form of Exhibit A
15   attached hereto and includes the following persons identified in this paragraph (except
16   that the Court, court personnel and counsel of record shall not be required to sign such
17   document):
18         (a)    the Court and its officers, court reporters, and court personnel;
19         (b)    counsel of record for any Party, such as counsel for Plaintiff, being the
20                law firm of Stubbs Alderton & Markiles, LLP, located at 1453 3rd Street
21                Promenade, Suite 300, Santa Monica, CA 90401; and counsel for
22                Defendants, being the law firms of Klein, O’Neil & Singh, LLP, located
23                at16755 Von Karman Avenue, Suite 275, Irvine, CA 92606 and Shields
24                Law Offices, located at 1920 Main Street, Suite 1080, Irvine, CA 92614;
25         (c)    Other Law Firm Attorneys and Law Firm Personnel;
26         (d)    In-house counsel;
27         (e)    Service Bureaus, subject to the provisions of paragraph 10;
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 1         (f)    The Parties to this action, and their officers, directors, agents and
 2   employees whom counsel of record believes in good faith have a need for access to
 3   such information for the preparation and trial of this action;
 4         (g)    Outside Consultants/Experts for Plaintiff and Outside
 5                Consultants/Experts for each Defendant, with prior notice to each
 6                producing party as detailed in paragraph 22;
 7         (h)    Other Qualified Persons, as to the information they are so designated
 8                qualified, pursuant to paragraph 11; and
 9         (i)    any deponent as provided for in paragraphs 20(c) and (f) and 25 herein.
10         15.    “Qualified Persons” as to Covered Information designated Confidential –
11   Attorneys’ Eyes Only means persons who have signed a document in substantially the
12   form of Exhibit A attached hereto and includes the following persons identified in
13   this paragraph (except that the Court, court personnel and counsel of record shall not
14   be required to sign such document):
15         (a)    the Court and its officers, court reporters, and court personnel;
16         (b)    counsel of record for any Party, such as counsel for Plaintiff, being the
17                law firm of Stubbs Alderton & Markiles, LLP, located at 1453 3rd Street
18                Promenade, Suite 300, Santa Monica, CA 90401; and counsel for
19                Defendants, being the law firms of Klein, O’Neil & Singh, LLP, located
20                at16755 Von Karman Avenue, Suite 275, Irvine, CA 92606 and Shields
21                Law Offices, located at 1920 Main Street, Suite 1080, Irvine, CA 92614;
22         (c)    Other Law Firm Attorneys and Law Firm Personnel;
23         (d)    Service Bureaus, subject to the provisions of paragraph 10;
24         (e)    Outside Consultants/Experts for Plaintiff and Outside
25                Consultants/Experts for each Defendant, with prior notice to each
26                producing party as detailed in paragraph 22; and
27         (f)    witnesses employed by the entity that produced such information.
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 1            DESIGNATION AND IDENTIFICATION OF INFORMATION
 2         16.    Labeling of documents. Information being designated as Covered
 3   Information that is in documentary or other tangible form shall be labeled by the
 4   producing party, prior to its production, to reflect its designation, by placing the
 5   appropriate designation on every page of each document so designated.
 6         17.    Designation of other disclosures. In the case of information disclosed in
 7   or by a non-paper medium (e.g., videotape, audiotape, digital video disc, compact
 8   disc, USB flash drive, computer disk, external hard drive or other tangible thing), the
 9   appropriate designation shall be affixed to the outside of the medium or its container
10   so as to clearly give notice of the designation. Information being designated as
11   Covered Information that is not in documentary or other tangible form, or that cannot
12   conveniently be labeled, shall be designated and/or categorized by the disclosing party
13   in a writing provided to the receiving party at the time of production. Such
14   designations are deemed to apply both to the document or other material itself and to
15   the Covered Information contained therein or thereon.
16         18.    Preliminary designation of documents being inspected. If a producing
17   party elects to produce documents and things for inspection, it need not label the
18   documents and things in advance of the initial inspection. For purposes of the initial
19   inspection, all documents within the produced files will be considered as having been
20   marked “Confidential – Attorneys’ Eyes Only.” Thereafter, on selection of specified
21   documents for copying by the inspecting party, the producing party shall mark either
22   the original documents or the copies of such documents as may contain Covered
23   Information with the appropriate confidentiality marking at the time the copies are
24   produced to the inspecting party.
25         19.    Designation not determinative. Designation of documents or other
26   specified information as Covered Information by counsel, or receipt of documents or
27   information so designated, shall not be considered as determinative of whether the
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 1   contents of the documents or the information specified are entitled to be deemed as
 2   such.
 3           20.    Designation in Good Faith. The Parties and their attorneys shall use
 4   reasonable care and diligence to avoid designating any documents or materials as
 5   Confidential or Confidential Attorneys’ Eyes Only that are not entitled to such
 6   designation.
 7           21.    Challenges to confidentiality designations. A Party shall not be obligated
 8   to challenge the propriety of a designation of information as Covered Information at
 9   the time made, and failure to do so shall not preclude a subsequent challenge thereto.
10   If any Party to the action disagrees at any stage of the proceedings with such a
11   designation, that Party shall provide to the producing party written notice of its
12   disagreement. For all such disputes, if any, the Parties shall proceed pursuant to Local
13   Rule 37. The burden of proving that the information has been properly designated as
14   Covered Information is on the Party making such designation.
15           22.    Designation of deposition testimony. The following procedures shall be
16   followed if Covered Information of a producing party is discussed or disclosed in a
17   deposition:
18           (a)    The producing party shall have the right to exclude from attendance at
19                  the deposition, during such time as the Covered Information is to be
20                  discussed or disclosed, any person other than the deponent, the court
21                  reporter, and qualified persons. For the avoidance of doubt, the deponent
22                  must be a qualified person who has signed a document in substantially
23                  the form of Exhibit A or Exhibit B attached hereto.
24           (b)    The Covered Information shall be designated as Confidential or
25                  Confidential – Attorneys’ Eyes Only at the request of counsel for the
26                  producing party (or, if the producing party is not a party to the action and
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 1               is not represented at the deposition, at the request of counsel for the party
 2               disclosing the information or questioning the witness about it).
 3         (c)   Each deponent or third party witness to whom any Party proposes to
 4               disclose Covered Information at a deposition proceeding shall first be
 5               given a copy of this Order and informed of its contents; shall agree to be
 6               bound by the obligations of confidentiality and nondisclosure as set forth
 7               in this Order; and shall either (a) execute a nondisclosure agreement in
 8               the form attached hereto as Attachment “A”, or (b) orally agree, if such
 9               oral agreement is made on the record during a deposition, to be bound by
10               its terms, which shall also be read into the record.
11         (d)   With respect to the examination of witnesses upon oral deposition, when
12               Covered Information is supplied to the deponent, or when the deponent’s
13               testimony contains, reflects, or comments on Covered Information, the
14               deposition reporter and/or video operator shall be informed of this Order
15               by the Party or third party seeking to invoke its protection and provided a
16               copy hereof, and will be required to agree to be bound by its terms. If
17               deposition testimony is designated as Confidential or Confidential—
18               Attorneys’ Eyes Only at a deposition, the portion of the testimony so
19               designated shall be bound in a separate transcript and/or recorded on a
20               separate video device such as videotape, digital video disc or similar
21               recording device (collectively, “video”), if the deposition is video
22               recorded. The reporter and/or video operator shall then place on the
23               cover of any such separate transcript or video the words “CONTAINS
24               CONFIDENTIAL INFORMATION” or “CONTAINS ATTORNEYS’
25               EYES ONLY INFORMATION,” as appropriate. Counsel for the Parties
26               shall then take appropriate steps to prevent such separate transcript or
27               video so designated from being disclosed to any person, except as
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 1               provided and permitted in this Order. The Party taking any deposition
 2               shall be responsible for ensuring that the court reporter and/or video
 3               operator are informed of this Order and have agreed to comply with and
 4               be bound by its terms.
 5         (e)   Alternatively to subparagraphs (c) and (d) above, a request under
 6               subparagraph (b) may be made in writing within thirty (30) days after the
 7               requesting counsel receives a copy of the transcript of the deposition.
 8               During this 30-day period, all deposition transcripts and the information
 9               contained therein shall be deemed Confidential – Attorneys’ Eyes Only.
10               The request shall contain a list of the numbers of the pages and lines of
11               the transcript that are to be designated as containing Covered
12               Information, and specific designations for each item or group of items on
13               the list. The list shall be set forth on one or more separate pieces of
14               paper, the first one of which shall bear the caption of the action and
15               identifying information about the deposition. The requesting counsel
16               shall insert the list before the cover page of the transcript and shall mail,
17               email, or fax copies of the list to counsel for all Parties so that it may be
18               affixed to the face of the transcript and each copy thereof.
19         (f)   Nothing herein shall preclude a Party from showing any deponent in this
20               action documents or other materials designated as Confidential or
21               Confidential – Attorneys’ Eyes Only if said deponent was the author,
22               sender, or a recipient of such documents or other materials or can
23               otherwise be demonstrated to have had prior access to or receipt of such
24               documents or materials or the information contained therein. Regardless
25               of designation pursuant to this Order, if a document or testimony makes
26               reference to the actual or alleged conduct or statements of a person who
27               is a potential witness in this action, counsel may discuss such conduct or
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 1                statements with such witness without revealing any portion of the
 2                document or testimony other than that which specifically refers to such
 3                conduct or statement, and such discussion shall not constitute disclosure
 4                within the terms of this Order.
 5                              ACCESS TO INFORMATION
 6         23.    All Covered Information shall be maintained in confidence and shall not
 7   be disclosed, directly or indirectly, to any person or entity except as provided in this
 8   Order. Access to Covered Information disclosed to a receiving party shall be limited
 9   to qualified persons except with the prior written agreement of the producing party.
10         24.    The following procedure shall be followed for any disclosure of
11   information as to which prior notice to the producing party is required under
12   paragraphs 12(g) and 13(e):
13         (a)    By facsimile transmission with confirmation by overnight mail, counsel
14                for the receiving party shall (i) notify counsel to the producing party in
15                writing of its intention to make such disclosure ten (10) court days before
16                the intended disclosure; (ii) specify the identity and the current
17                employment of the individual(s) to whom the proposed disclosure will be
18                made, including a curriculum vitae of such person; (iii) identify the
19                particular information proposed to be disclosed; (iv) specify the reasons
20                why the proposed disclosure is believed to be necessary; (v) provide to
21                the producing party at the time of notice under this paragraph, a
22                document in substantially the form of Exhibit A or Exhibit B attached
23                hereto that has been signed by the party to whom disclosure shall be
24                made.
25         (b)    If the producing party makes a written objection setting forth in detail the
26                grounds for such objection within the 10-day period and the objection is
27                not resolved between counsel within five (5) court days thereafter, the
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 1                  party seeking disclosure shall not disclose the information but shall have
 2                  the right to bring the dispute before the court for its resolution.
 3         (c)      If the dispute over the proposed disclosure is submitted to the Court by
 4                  motion, the party objecting to disclosure of the information shall have the
 5                  burden of persuasion.
 6         25.      Disclosure in certain circumstances. Nothing in this Order shall
 7   preclude any party to the lawsuit or their attorneys from disclosing or using by the
 8   disclosing party, in any manner or for any purpose, any information or documents
 9   from the disclosing party’s own files that the party itself has designated as Covered
10   Information.
11         26.      Restrictions on use. Disclosure of information designated as Covered
12   Information shall be solely for the purposes of resolving this lawsuit between the
13   Parties; information so disclosed shall not be used for any other purpose. The persons
14   receiving the information in question are prohibited from disclosing it to any other
15   person except in conformance with this Order.
16         27.      Each of the Parties to this Order expressly agrees and covenants that it
17   will not disclose or cause the disclosure of any Covered Information in violation of
18   this Order, and that it will take appropriate steps to secure and safeguard all Covered
19   Information in its possession, along with any copies, summaries, excerpts, abstracts,
20   or other information derived in whole or in part therefrom.
21         28.      Third party witnesses bound by this Stipulated Protective Order. Each
22   third party witness to whom any Party proposes to disclose Covered Information at
23   trial or other proceeding shall first be given a copy of this Order and informed of its
24   contents; shall agree to be bound by the obligations of confidentiality and
25   nondisclosure as set forth in this Order; and shall either (a) execute a nondisclosure
26   agreement in the form attached hereto as attachment “A”, or (b) orally agree, if such
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 1   oral agreement is made on the record, to be bound by its terms, which shall also be
 2   read into the record.
 3         29.    A designation of confidentiality pursuant to this Order shall be effective
 4   and shall be respected by the Parties and all persons in any way involved in these
 5   proceedings or to whose attention Covered Information shall come unless and until
 6   otherwise ordered by the Court or stipulated in writing or on the record by all Parties
 7   to this action. These obligations of confidentiality and non-disclosure shall survive
 8   the conclusion of this action unless and until otherwise ordered by the Court, or until
 9   all Parties to this action stipulate that designated Covered Information can be
10   disclosed.
11                                   OTHER PROVISIONS
12         30.    Documents subject to the attorney-client privilege or work product
13   immunity. To facilitate discovery, the Parties may make documents available for
14   inspection by counsel for the receiving party, and such documents may inadvertently
15   include documents subject to the attorney-client privilege, work product immunity, or
16   both. Neither the production for inspection of documents and things by the producing
17   party nor the inspection of such documents and things by the receiving party shall
18   constitute a waiver of the attorney-client privilege or work product immunity. After
19   inspection, the producing party may withhold documents subject to the attorney-client
20   privilege and work product immunity provided proper identification is made on the
21   producing party’s list of such documents, and the inspecting party shall not refer to or
22   rely on the contents of such inspected but withheld documents for any purpose,
23   subject to further order of the Court.
24         31.    Inadvertent production or disclosure of documents subject to the
25   attorney-client privilege and/or work product immunity. Inadvertent production or
26   disclosure of documents or information subject to the attorney-client privilege, work
27   product immunity or both shall not constitute a waiver of, nor a prejudice to, any
28
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 1   claim that such documents or related material is privileged or protected by the work
 2   product immunity, provided that the producing party notifies the receiving party in
 3   writing promptly after discovery of such inadvertent production. Such inadvertently
 4   produced documents and all copies thereof shall promptly be returned to the
 5   producing party upon request. No use shall be made of such documents during
 6   deposition or at trial, nor shall they be shown to anyone who has not already been
 7   given access to them subsequent to the request to return them. If the Parties are
 8   unable to reach agreement within ten (10) days of such notice, the producing party
 9   may seek relief from the Court pursuant to the requirements of Local Rule 37. The
10   receiving party shall not disclose a document for which a claim of privilege or
11   immunity is made pursuant to this paragraph to any person, other than those persons
12   who had it in their possession prior to receipt of the notice from the producing party,
13   until the expiration of the 10-day period identified in this paragraph or, if application
14   is made to the Court, until disposition of that application by the Court.
15         32.    Filing under seal or In Camera - Procedures. The Parties shall follow
16   the filing procedures set forth in Local Rule 79. and specifically L.R. 79-5.1,
17   which provides:
18                Except when authorized by statute or federal rule, or the
19                Judicial Conference of the United States, no case or
20                document shall be filed under seal or in camera without
21                prior approval by the Court. Where approval is required,
22                a written application and a proposed order shall be
23                presented to the judge along with the document
24                submitted for filing under seal or in camera. The
25                proposed order shall address the sealing of the
26                application and order itself, if appropriate. The original
27                and judge’s copy of the document shall be sealed in
28
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 1                separate envelopes with a copy of the title page attached
 2                to the front of each envelope. Conformed copies need
 3                not be placed in sealed envelopes. Where under-seal or
 4                in-camera filings are authorized by statute or rule, the
 5                authority therefor shall appear on the title page of the
 6                proposed filing. Applications and proposed orders to seal
 7                or file in camera, along with the material to be sealed or
 8                submitted in camera, shall not be electronically filed but
 9                shall be presented to the Clerk for filing in paper format,
10                in the manner prescribed by Local Rule 79-5. Unless the
11                filer is exempted from electronic filing pursuant to L.R.
12                5-4.2(a), a Notice of Manual Filing shall first be
13                electronically filed identifying the materials being
14                manually filed. A copy of the Notice of Manual Filing,
15                together with its NEF (see L.R. 5-3.3), shall be presented
16                with the documents presented for filing.
17         In addition, Covered Information may only be filed under seal pursuant to a
18   Court order authorizing the sealing of the specific Covered Information at issue. If a
19   Party’s request to file Covered Information under seal is denied by the Court, then the
20   receiving party may file the information in the public record unless otherwise
21   instructed by the Court.
22         33.    Use of information in court proceedings. Any receiving party that knows
23   that it intends to present Covered Information of another party in oral form at trial, or
24   during any pre- or post-trial hearing, shall first notify the Court and the producing
25   party a reasonable amount of time in advance. Because of the policy favoring public
26   attendance at judicial proceedings, the Parties are strongly encouraged to agree on
27   procedures that will minimize the presentation of Covered Information in open court.
28
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 1   In appropriate circumstances such procedures might include, e.g., submission of
 2   written testimony under seal, presentation of “declassified” summaries of confidential
 3   information, and the like. The Court does not here determine which if any such
 4   procedures might be suitable in particular situations. Absent a stipulation of all
 5   Parties, the fact that information has been designated as Covered Information shall not
 6   be admissible during the trial of this action, nor shall the jury be advised of such
 7   designation.
 8         34.      Disposition of documents, etc., after final termination.
 9         (a)      Except as set forth below, within 60 days of final termination of this
10                  action, the attorneys of record for each receiving party shall return to
11                  each producing party or its attorneys of record, at the expense of the
12                  producing party, all documents (and copies thereof) and all materials
13                  (and any copies thereof) that have been furnished to it by the producing
14                  party and that have been identified as Covered Information pursuant to
15                  this Order. At the option of the producing party, such documents
16                  received by the receiving party may be destroyed in lieu of being
17                  returned to the producing party.
18         (b)      Notwithstanding subparagraph (a), the attorneys of record for a party
19                  may maintain a set of pleadings, briefs, and similar papers filed with the
20                  Court, including all exhibits marked in discovery or at trial. The above-
21                  described pleadings, briefs and similar papers filed with the Court and
22                  exhibits marked in discovery or at trial may be retained in confidence
23                  under the terms of this Protective Order by the outside counsel for the
24                  party.
25         35.      No waiver of right or obligation to object to production. Nothing
26   contained in this Order shall be construed as a waiver by any party of its right to
27   object to the subject matter of any request for production of documents in this action,
28
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 1   nor as a waiver by any other party of the first party’s obligation to make proper
 2   response to discovery requests. The entry of this Order shall not be construed as an
 3   agreement by any party to produce any documents or to supply any information and
 4   shall not constitute an admission that any such documents that may exist are relevant
 5   or material in any way to the issues raised in the pending action or admissible in such
 6   action, nor as a waiver of any privilege with respect thereto.
 7         36.    Third parties. In the event that a party seeks discovery from a non-party
 8   to this action, the non-party may invoke the terms of this Order either (a) in writing to
 9   all Parties to the action with respect to any Covered Information to be provided to the
10   requesting party by the non-party by signing a document in substantially the form of
11   Exhibit B attached hereto, and/or (b) by orally agreeing to be bound by the terms
12   hereof if such oral agreement is made on the record during a deposition or hearing,
13   which agreement shall also be read into the record of such deposition or hearing, and
14   by thereafter producing documents and/or giving testimony in accordance with this
15   Order.
16         37.    Continuing jurisdiction. This Order shall survive the final conclusion of
17   the action, and this Court retains jurisdiction of the Parties hereto, and of any person
18   who executes a copy of Exhibit A or Exhibit B, indefinitely as to any dispute
19   between any of them regarding improper use of information disclosed pursuant to this
20   Order.
21         38.    Requests for additional protection. This Order shall be without prejudice
22   to the right of the Parties to request additional protection under Federal Rule 26(c),
23   Fed. R. Civ. P. 26(c), for discovery requests made hereafter by any party.
24   ///
25   ///
26   ///
27   ///
28
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 1         39.    Nothing in this Protective Order shall be construed as authorizing a party
 2   to disobey a lawful subpoena or court order issued in another action.
 3
 4   IT IS SO ORDERED.
 5
 6
             February 19
     DATED: _______________, 2016            ___________________________________
 7
 8                                           HON. KENLY KIYA KATO
                                             U.S. MAGISTRATE JUDGE
 9
10   AGREED TO:

11   Dated: February 3, 2016                 By: /s/Konrad K. Gatien
12                                                  Konrad K. Gatien, Esq.
                                                    Stubbs Alderton & Markiles
13                                                  Attorneys for Plaintiff
                                                    AOP Ventures, Inc.
14
     Dated: February 3, 2016                 By: /s/Glen L. Nuttall
15                                                  Glen L. Nuttall
                                                    Attorneys for Defendants
16                                                  Steam Distribution, LLC
                                                    One Hit Wonder, Inc.
17                                                  Anthony Tellez III
18   Dated: February 3, 2016                 By: /s/Jeffrey W. Shields
19                                                  Jeffrey W. Shields
                                                    Attorneys for Defendants
20                                                  Steam Distribution, LLC
                                                    One Hit Wonder, Inc.
21                                                  Anthony Tellez III
22   SIGNATURE ATTESTATION: I hereby attest that I have authorization for any
23   signatures indicated by a conformed signature within this e-filed document, and that
24   all other signatories herein listed, and on whose behalf this filing is submitted, concur
25   in its content and have authorized the filing of same.
26                                           /s/Konrad K. Gatien
                                             Konrad K. Gatien
27
28
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 1                                          EXHIBIT A:
 2
 3                     UNDERTAKING PURSUANT TO STIPULATED
 4                                   PROTECTIVE ORDER
 5
           1.     I, the person named below, declare that the following information is true:
 6
                  a.      Name:
 7
                  b.      Address:
 8
                  c.      Employer name and address:
 9
                  d.      Title:
10
                  e.      Occupation/job description:
11
                  f.      Other work, if any (e.g., consulting):
12
                  g.      Past or present relationship to plaintiff or defendant(s), if any:
13
                  h.      I am executing this undertaking on behalf of (check all that are
14
     applicable): ____ myself ____ my employer
15
                  i.      My employer __ is __ is not a Service Bureau (see paragraph 10
16
     of the Stipulated Protective Order (the “Order”) in this action.
17
           2.     I have received a copy of the Order in this action.
18
           3.     I have carefully read and understand the provisions of the Order. I agree
19
     to be bound by it, and specifically agree I will not use or disclose to anyone any of the
20
     contents of any Covered Information received under the protection of the Order in
21
     violation thereof.
22
           4.     I understand that I am to retain all copies of any of the materials that I
23
     receive that have been designated as Covered Information in a container, cabinet,
24
     drawer, room or other safe place in a matter consistent with the Order and that all
25
     copies are to remain in my custody until I have completed my assigned or legal duties.
26
     I will return all confidential documents and things that come into my possession, or
27
     that I have prepared relating to such documents and things, to counsel for the party by
28
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 1   whom I am retained. I acknowledge that such return or the subsequent destruction of
 2   such materials shall not relieve me from any of the continuing obligations imposed on
 3   me by the Order.
 4         5.       If I am executing this undertaking on behalf of my employer as indicated
 5   above, I agree on its behalf that it too will be bound by the provisions of the Order and
 6   that it too will abide by the requirements set out in paragraphs 3 and 4 of this
 7   undertaking.
 8         6.       If my employer is a Service Bureau as indicated above, I further agree on
 9   its behalf that it will instruct all its employees who have access to Covered
10   Information under the Order about their duty to comply with the requirements set out
11   in paragraphs 3 and 4 of this undertaking.
12
13         EXECUTED UNDER PENALTY OF PERJURY on _______________, 20__,
14   at _________________ in the State of _____________________.
15
16
                                                     _______________________________
17
                                                     (Signature)
18
19
20
21
22
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 1                                        EXHIBIT B:
 2
 3     THIRD PARTY AGREEMENT TO STIPULATED PROTECTIVE ORDER
 4
 5         ____________________, as a non-party to AOP Ventures, Inc. v. Steam
 6   Distribution, LLC., et al., U.S.D.C., Central District of California Case No. 5:15-CV-
 7   01586 VAP (KKx) (the “Civil Action”), has been asked to respond to discovery in that
 8   case pursuant to Federal Rules of Civil Procedure 26-37 and 45.
 9          ____________________, considers certain information that is responsive to
10   discovery to be confidential in nature and to fall under the description “Confidential”
11   or “Confidential – Attorneys’ Eyes Only” as defined in the Stipulated Protective Order
12   (the “Order”) entered in the Civil Action.
13         ____________________, therefore, agrees, to the terms and conditions of the
14   Order entered in the Civil Action to appropriately protect this information from
15   improper disclosure.
16
17
     Date:___________________                              _________________________
18                                                              Individual/Company
19
                                                    By:    _________________________
20                                                              Signature
21
                                                    Its:   _________________________
22                                                              Title
23
24
25
26
27
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